                                   Case 4:07-cv-05944-JST Document 2234 Filed 11/22/13 Page 1 of 19




                               1   Squire Sanders (US) LLP
                                   Nathan Lane III (CA State Bar # 50961)
                               2   nathan.lane@squiresanders.com
                                   Mark C. Dosker (CA State Bar # 114789)
                               3   mark.dosker@squiresanders.com
                                   275 Battery Street, Suite 2600
                               4   San Francisco, California 94111
                                   Telephone:     +1 415 954 0200
                               5   Facsimile:     +1 415 393 9887

                               6   Attorneys for Defendant
                                   TECHNOLOGIES DISPLAYS AMERICAS, LLC
                               7

                               8                                UNITED STATES DISTRICT COURT

                               9                              NORTHERN DISTRICT OF CALIFORNIA

                            10                                       SAN FRANCISCO DIVISION

                            11     IN RE: CATHODE RAY TUBE (CRT)                    Master File No. 3:07-5944-SC
                                   ANTITRUST LITIGATION,                            Individual Docket No. 13-cv-1173-SC
                            12
                                                                                    MDL No. 1917
                            13     This Document Relates to:
                                                                                    TECHNOLOGIES DISPLAYS
                            14     Sharp Electronics Corp., et al. v.               AMERICAS, LLC’S NOTICE OF
                                   Hitachi, Ltd., et al., No. 13-cv-01173           MOTION AND MOTION TO DISMISS
                            15                                                      THE FIRST AMENDED COMPLAINT,
                                                                                    AND MEMORANDUM OF POINTS
                            16                                                      AND AUTHORITIES IN SUPPORT
                            17                                                      Date:          February 7, 2014
                                                                                    Time:          10:00 A.M.
                            18                                                      Courtroom:     1, 17th Floor
                                                                                    Judge:         Hon. Samuel Conti
                            19

                            20

                            21
                            22

                            23

                            24
                            25

                            26

                            27
                            28
SQUIRE SANDERS (US) LLP
  275 Battery Street, Suite 2600   TDA’S NOTICE OF MOTION TO DISMISS THE FIRST AMENDED COMPLAINT, AND MEMORANDUM OF
 San Francisco, California 94111
                                     POINTS AND AUTHORITIES IN SUPPORT – Master File #3:07-5944-SC; MDL #1917; Case #13-cv-01173
                                   Case 4:07-cv-05944-JST Document 2234 Filed 11/22/13 Page 2 of 19




                               1                                                   TABLE OF CONTENTS

                               2                                                                                                               Page
                                   NOTICE OF MOTION AND MOTION...................................................................................... 1
                               3
                                   ISSUES TO BE DECIDED ........................................................................................................... 1
                               4
                                   MEMORANDUM OF POINTS AND AUTHORITIES............................................................. 2
                               5
                                   I.                 INTRODUCTION AND STATEMENT OF FACTS ............................................. 2
                               6
                                   II.                ARGUMENT ........................................................................................................... 3
                               7
                                            A.        Sharp Fails to Allege Sufficient Facts to State a Claim Against TDA. ................... 3
                               8
                                            B.        Sharp’s Claims Against TDA Are Untimely and Must Be Dismissed. ................... 7
                               9
                                                      1.        Sharp Fails to Plead a Basis to Toll the Statute of Limitations for Any of
                            10                                  Sharp’s Claims Against TDA. ..................................................................... 8
                            11                        2.        Sharp Cannot Rely on American Pipe to Toll Its Claims Against TDA...... 8
                            12                        3.        Sharp Fails to Plead, and Cannot, Establish Tolling Based on Government
                                                                Proceedings. ............................................................................................... 10
                            13
                                            C.        Illinois Brick Bars Sharp from Asserting Claims for Damages for Purchases of
                            14                        CRT Products Under Federal and New Jersey Law............................................... 11
                            15     III.               CONCLUSION ...................................................................................................... 13
                            16

                            17

                            18
                            19

                            20

                            21
                            22

                            23

                            24
                            25

                            26

                            27
                            28
                                                                                             i
SQUIRE SANDERS (US) LLP
  275 Battery Street, Suite 2600                                                   TABLE OF CONTENTS
 San Francisco, California 94111
                                                                 Master File #3:07-5944-SC; MDL #1917; Case #13-cv-01173
                                   Case 4:07-cv-05944-JST Document 2234 Filed 11/22/13 Page 3 of 19




                               1                                                   TABLE OF AUTHORITIES

                               2                                                                                                                                    Page(s)

                               3                                                             FEDERAL CASES
                               4   Am. Pipe & Constr. Co. v. Utah,
                                      414 U.S. 538 (1974) .................................................................................................................. 8
                               5
                                   Arneil v. Ramsey,
                               6      550 F.2d 774 (2d Cir. 1977), rev’d on other grounds by Crown, Cork & Seal Co. v.
                                      Parker, 462 U.S. 345 (1983)..................................................................................................... 9
                               7
                                   Ashcroft v. Iqbal,
                               8      556 U.S. 662 (2009) .............................................................................................................. 3, 7

                               9   Bell Atl. Corp. v. Twombly,
                                       550 U.S. 544 (2007) .......................................................................................................... 3, 4, 5
                            10
                                   Boone v. Citigroup, Inc.,
                            11        416 F.3d 382 (5th Cir. 2005)..................................................................................................... 8

                            12     Charley’s Tour & Transp., Inc. v. Interisland Resorts, Ltd.,
                                      618 F. Supp. 84 (D. Hawaii 1985) .......................................................................................... 11
                            13
                                   Chipanno v. Champion Int’l Corp.,
                            14        702 F.2d 827 (9th Cir. 1983)................................................................................................... 10

                            15     Clemens v. DaimlerChrysler Corp.,
                                      534 F.3d 1017 (9th Cir. 2008)................................................................................................... 9
                            16
                                   Crown, Cork & Seal Co. v. Parker,
                            17        462 U.S. 345 (1983) (Powell, J., concurring) ........................................................................... 9

                            18     Doe v. Unocal Corp.,
                                      248 F.3d 915 (9th Cir. 2001)..................................................................................................... 5
                            19
                                   Dungan v. Morgan Drive-Away, Inc.,
                            20        570 F.2d 867 (9th Cir. 1978)................................................................................................... 10

                            21     E. & J. Gallo Winery v. Encana Energy Servs., Inc.,
                                      No. 03-5412, 2008 U.S. Dist. LEXIS 46927 (E.D. Cal. May 27, 2008) .................................. 5
                            22
                                   Gilmore v. Am. Mortg. Network,
                            23        No. 12-7935, 2012 U.S. Dist. LEXIS 176194 (C.D. Cal. Dec. 10, 2012) ................................ 4

                            24     Hinton v. Pac. Enters.,
                                      5 F.3d 391 (9th Cir. 1993)......................................................................................................... 8
                            25
                                   Illinois Brick Co. v. Illinois,
                            26          431 U.S. 720 (1977) ................................................................................................................ 12

                            27     Imageline, Inc. v. CafePress.com, Inc.,
                                      No. 10-9794, 2011 U.S. Dist. LEXIS 39828 (C.D. Cal. Apr. 6, 2011) .................................... 5
                            28
                                                                                                ii
SQUIRE SANDERS (US) LLP
  275 Battery Street, Suite 2600                                                    TABLE OF AUTHORITIES
 San Francisco, California 94111
                                                                    Master File #3:07-5944-SC; MDL #1917; Case #13-cv-01173
                                   Case 4:07-cv-05944-JST Document 2234 Filed 11/22/13 Page 4 of 19




                               1                                             TABLE OF AUTHORITIES
                                                                                   (continued)
                               2
                                                                                                                                                                  Page(s)
                               3
                               4   In re ATM Fee Antitrust Litig.,
                                       686 F.3d 741 (9th Cir. 2012)
                               5
                                   In re Cal. Title Ins. Antitrust Litig.,
                               6       No. 08-01341, 2009 U.S. Dist. LEXIS 43323 (N.D. Cal. May 21, 2009) ................................ 6
                               7   In re Currency Conversion Fee Antitrust Litig.,
                                       265 F. Supp. 2d 385 (S.D.N.Y. 2003)....................................................................................... 6
                               8
                                   In re Elevator Antitrust Litig.,
                               9       502 F.3d 47 (2d Cir. 2007)........................................................................................................ 4
                            10     In re Graphics Processing Units Antitrust Litig.,
                                       527 F. Supp. 2d 1011 (N.D. Cal. 2007) .................................................................................... 4
                            11
                                   In re TFT-LCD (Flat Panel) Antitrust Litig.,
                            12         586 F. Supp. 2d 1109 (N.D. Cal. 2008) .................................................................................... 4
                            13     Invamed, Inc. v. Barr Labs., Inc.,
                                      22 F. Supp. 2d 210 (S.D.N.Y. 1998)......................................................................................... 6
                            14
                                   Jabon v. Dean Witter & Co.,
                            15        614 F.2d 677 (9th Cir. 1980)..................................................................................................... 7
                            16     Kendall v. Visa U.S.A., Inc.,
                                      518 F.3d 1042 (9th Cir 2008)...................................................................................... 4, 5, 6, 12
                            17
                                   Marine Firemen’s Union v. Owens-Corning Fiberglass Corp.,
                            18       503 F.2 246, 249 (9th Cir. 1974)............................................................................................. 10
                            19     MCI Telecom. Corp. v. Graphnet, Inc.,
                                     881 F. Supp. 126 (D.N.J. 1995) ................................................................................................ 6
                            20
                                   Nashville Milk Co. v. Carnation Co.,
                            21        355 U.S. 373 (1958) ................................................................................................................ 11
                            22     Nordberg v. Trilegiant Corp.,
                                      445 F. Supp. 2d 1082 (N.D. Cal. 2006) .................................................................................... 6
                            23
                                   Novell, Inc. v. Microsoft Corp.,
                            24        505 F.3d 302 (4th Cir. 2007)................................................................................................... 10
                            25     Pace Indus., Inc. v. Three Phoenix Co.,
                                      813 F.2d 234 (9th Cir. 1987)..................................................................................................... 7
                            26
                                   RSM Prod. Co. v. Petroleos de Venez, Societa Anonima,
                            27       338 F. Supp. 2d 1208 (D. Colo. 2004)...................................................................................... 6
                            28                                                                 iii
SQUIRE SANDERS (US) LLP
                                                                                   TABLE OF AUTHORITIES
  275 Battery Street, Suite 2600                                   Master File #3:07-5944-SC; MDL #1917; Case #13-cv-01173
 San Francisco, California 94111
                                   Case 4:07-cv-05944-JST Document 2234 Filed 11/22/13 Page 5 of 19




                               1                                               TABLE OF AUTHORITIES
                                                                                     (continued)
                               2
                                                                                                                                                      Page(s)
                               3   Soward v. Deutsche Bank AG,
                                      814 F. Supp. 2d 272 (S.D.N.Y. 2011)....................................................................................... 9
                               4
                                   United States v. Bestfoods,
                               5      524 U.S. 51 (1998) .................................................................................................................... 5

                               6   Williams v. Boeing Co.,
                                      517 F.3d 1120 (9th Cir. 2008)................................................................................................... 9
                               7
                                   Wyser-Pratte Mgt. Co. v. Telxon Corp.,
                               8      413 F.3d 553 (6th Cir. 2005)..................................................................................................... 8

                               9   Yoder Bros., Inc. v. Cal.-Fla. Plant Corp.,
                                      537 F.2d 1347 (5th Cir. 1976)................................................................................................. 10
                            10
                                                                                                 STATE CASES
                            11
                                   Gaidon v. Guardian Life Ins. Co. of Am.,
                            12        96 N.Y.2d 201 (2001) ............................................................................................................... 7
                            13     Maestas v. Sofamor Danek Group, Inc.,
                                     33 S.W.3d 805 (Tenn. 2000)..................................................................................................... 9
                            14
                                   Sickles v. Cabot Corp.,
                            15         877 A.2d 267 (N.J. App. Div. 2005)....................................................................................... 12
                            16
                                                                                            FEDERAL STATUTES
                            17
                                   15 U.S.C. § 12 ............................................................................................................................... 11
                            18
                                   15 U.S.C. § 15b ............................................................................................................................... 7
                            19
                                   15 U.S.C. § 16(i) ..................................................................................................................... 10, 11
                            20
                                                                                              STATE STATUTES
                            21
                                   CAL. BUS. & PROF. CODE § 16750.1................................................................................................ 7
                            22
                                   CAL. BUS. PROF. CODE § 17208....................................................................................................... 7
                            23
                                   N.J. STAT. § 56:9-14 ........................................................................................................................ 7
                            24
                                   N.J. Stat. § 56:9-18........................................................................................................................ 12
                            25
                                   N.Y.C.P.L.R. 214(2) ....................................................................................................................... 7
                            26
                                   N.Y. GEN. BUS. LAW § 340(5)......................................................................................................... 7
                            27
                            28                                                                   iv
SQUIRE SANDERS (US) LLP
                                                                                     TABLE OF AUTHORITIES
  275 Battery Street, Suite 2600                                     Master File #3:07-5944-SC; MDL #1917; Case #13-cv-01173
 San Francisco, California 94111
                                   Case 4:07-cv-05944-JST Document 2234 Filed 11/22/13 Page 6 of 19




                               1                                               TABLE OF AUTHORITIES
                                                                                     (continued)
                               2
                                                                                                                                                                         Page(s)
                               3
                                   N.Y. GEN. BUS. LAW § 342-C ....................................................................................................... 11
                               4
                                   TENN. CODE § 28-3-105................................................................................................................... 7
                               5
                                                                                                       RULES
                               6
                                   Fed. R. Civ. P. 8 .............................................................................................................................. 3
                               7
                                   Fed. R. Civ. P. 8(a)........................................................................................................................ 11
                               8
                                   Federal Rule of Civil Procedure 12(b)(6) .................................................................................... 1,7
                               9
                            10

                            11

                            12
                            13

                            14

                            15
                            16

                            17

                            18
                            19

                            20

                            21
                            22

                            23

                            24
                            25

                            26

                            27
                            28                                                                   v
SQUIRE SANDERS (US) LLP
                                                                                     TABLE OF AUTHORITIES
  275 Battery Street, Suite 2600                                     Master File #3:07-5944-SC; MDL #1917; Case #13-cv-01173
 San Francisco, California 94111
                                   Case 4:07-cv-05944-JST Document 2234 Filed 11/22/13 Page 7 of 19




                               1                               NOTICE OF MOTION AND MOTION

                               2          TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

                               3          PLEASE TAKE NOTICE THAT on Friday, February 7, 2014, at 10:00 A.M., or as soon
                               4   thereafter as this matter may be heard, Defendant Technologies Displays Americas LLC (“TDA”)

                               5   will and hereby does move this Court, pursuant to Federal Rule of Civil Procedure 12(b)(6), for

                               6   an order dismissing, with prejudice, the First Amended Complaint (“FAC”) filed by Sharp
                               7   Electronics Corporation and Sharp Electronics Manufacturing Company of America, Inc.

                               8   (collectively, “Sharp”) for failure to state a claim upon which relief can be granted.

                               9          This motion is based on this Notice of Motion, the accompanying Memorandum of Points
                            10     and Authorities in support thereof, the pleadings on file with the Court, and such arguments and

                            11     authorities as may be presented at or before the hearing.

                            12                                        ISSUES TO BE DECIDED
                            13            1.      Whether Sharp has failed to state a plausible claim against TDA.

                            14            2.      Whether Sharp’s claims against TDA are time-barred under the applicable statutes

                            15     of limitations and whether Sharp has failed to plead any basis for tolling its claims.
                            16            3.      Whether Sharp has federal antitrust standing and standing under New Jersey law to

                            17     seek damages for alleged purchases of CRT Products.

                            18
                            19

                            20

                            21
                            22

                            23

                            24
                            25

                            26

                            27
                            28
SQUIRE SANDERS (US) LLP
  275 Battery Street, Suite 2600                                              1
 San Francisco, California 94111
                                   TDA’S NOTICE OF MOTION TO DISMISS THE FIRST AMENDED COMPLAINT, AND MEMORANDUM OF
                                     POINTS AND AUTHORITIES IN SUPPORT – Master File #3:07-5944-SC; MDL #1917; Case #13-cv-01173
                                   Case 4:07-cv-05944-JST Document 2234 Filed 11/22/13 Page 8 of 19




                               1                       MEMORANDUM OF POINTS AND AUTHORITIES

                               2   I.     INTRODUCTION AND STATEMENT OF FACTS

                               3          In this action filed on March 15, 2013, more than five years after related litigation began
                               4   in this district alleging a global price-fixing conspiracy for CRTs, Sharp claimed for the first time

                               5   that TDA was involved in the purported conspiracy. TDA, which is a small company with only

                               6   one employee, was not named as a defendant in any of the numerous previously filed cases now
                               7   before this Court. According to Sharp, the alleged conspiracy began from at least March 1, 1995,

                               8   and involved more than 500 bilateral and multilateral meetings throughout Asia and

                               9   Europe. FAC ¶¶2, 7. Yet, nowhere in its 303-paragraph FAC does Sharp identify a single
                            10     meeting attended by TDA. This is hardly surprising—TDA did not even exist until 2005, more

                            11     than a decade after the alleged conspiracy began. See FAC ¶¶ 75-76.

                            12            Sharp refers to TDA in only six paragraphs of the FAC. (FAC ¶¶75, 76, 109, 199, 200
                            13     and 259.) In only three of those paragraphs (¶¶109, 199 and 200) does Sharp even attempt to

                            14     articulate a basis for its assertion that TDA participated in the alleged conspiracy.

                            15            Sharp alleges that TDA acquired Thomson’s United States CRT assets in 2005. FAC
                            16     ¶76. According to Sharp, TDA “was responsible for the sales and marketing of CRT Products in

                            17     North America on behalf of its parent company, Videocon.” FAC ¶ 199; see also id. ¶ 76.

                            18     Videocon—“upon information and belief”—allegedly “dominated and/or controlled the finances,
                            19     policies and/or affairs of TDA.” FAC ¶199; see also id. ¶76. Apparently, Sharp makes these

                            20     allegations in an effort to attribute to TDA some unarticulated wrong-doing by Videocon at

                            21     meetings it allegedly attended between 2005 and 2007. FAC ¶158. Absent from the FAC,
                            22     however, is any factual allegation to support this bare conclusion that Videocon dominated TDA.

                            23            Sharp also asserts that, following TDA’s acquisition of Thomson CRT assets, two former

                            24     Thomson employees began working for TDA. These employees allegedly participated in
                            25     meetings with competitors in 2002 and 2003 while employed by Thomson. FAC ¶¶199. Sharp

                            26     does not allege, however, that either of the two individuals participated in meetings or engaged in

                            27     improper communications with competitors after 2003, that TDA knew of the employees’ actions
                            28
SQUIRE SANDERS (US) LLP
  275 Battery Street, Suite 2600                                              2
 San Francisco, California 94111
                                   TDA’S NOTICE OF MOTION TO DISMISS THE FIRST AMENDED COMPLAINT, AND MEMORANDUM OF
                                     POINTS AND AUTHORITIES IN SUPPORT – Master File #3:07-5944-SC; MDL #1917; Case #13-cv-01173
                                   Case 4:07-cv-05944-JST Document 2234 Filed 11/22/13 Page 9 of 19




                               1   on behalf of their prior employer, or—most critically—that the two individuals attended any

                               2   alleged “conspiracy meetings” while employed by TDA.

                               3          In paragraph 199, and without further explication, Sharp speculates “upon information and
                               4   belief” that TDA “knowingly participated in conspiracy meetings and/or [was] part[y] to the

                               5   agreements entered at them, individually and through [its] parent company Videocon,” and that

                               6   TDA’s prices were “the product of conspiratorial communications.” FAC ¶199.
                               7          Finally, in paragraph 200, Sharp alleges that TDA was an active, knowing participant to

                               8   the asserted conspiracy because TDA distributed CRTs to direct purchasers. FAC ¶200.

                               9          Nowhere in the 303 paragraphs of the 79-page FAC does Sharp allege: the date, month,
                            10     year, or location of alleged improper meetings TDA attended; the other defendant(s) attending

                            11     any such improper meetings; the term(s) of any anticompetitive agreement entered into by TDA;

                            12     or a single act or statement by TDA in furtherance of, or to conceal, the purported conspiracy.
                            13            Stripped of its unsupported conclusions, speculation, and formulaic recitation of the

                            14     elements of an offense, Sharp’s only factual allegations as to TDA are:

                            15                TDA entered the CRT business in 2005.
                            16                TDA is a subsidiary of Videocon.

                            17                TDA sold and marketed CRT Products in North America from 2005 through 2007.

                            18                Two individuals employed for a time by TDA attended meetings with competitors
                            19                 before they began working at TDA.

                            20     II.    ARGUMENT

                            21            A.      Sharp Fails to Allege Sufficient Facts to State a Claim Against TDA.
                            22            To survive a motion to dismiss, a complaint must “raise a right to relief above the

                            23     speculative level,” and can do so only by including “enough facts to state a claim to relief that is

                            24     plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 570 (2007). A plaintiff
                            25     may no longer merely allege “labels and conclusions” or “a formulaic recitation of the elements

                            26     of a cause of action” with the hope that discovery might later uncover some factual basis to

                            27     support a claim for relief. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Rule 8 “demands more
                            28     than an unadorned, the-defendant-unlawfully-harmed-me accusation.” Id. A complaint must
SQUIRE SANDERS (US) LLP
  275 Battery Street, Suite 2600                                              3
 San Francisco, California 94111
                                   TDA’S NOTICE OF MOTION TO DISMISS THE FIRST AMENDED COMPLAINT, AND MEMORANDUM OF
                                     POINTS AND AUTHORITIES IN SUPPORT – Master File #3:07-5944-SC; MDL #1917; Case #13-cv-01173
                                   Case 4:07-cv-05944-JST Document 2234 Filed 11/22/13 Page 10 of 19




                               1   instead identify the time, place and persons involved in the alleged conspiracy with some degree

                               2   of specificity. Twombly, 550 U.S. at 565 n.10.1

                               3          This Court dismissed Sharp’s original Complaint in response to a motion brought by
                               4   Thomson Consumer Electronics, Inc. (“Thomson”) because:

                               5                  At this point in this litigation, Plaintiffs simply fail to elucidate
                                                  why and how Defendant should be part of this case. In a 287-
                               6                  paragraph complaint, filed six years after this MDL’s inception,
                                                  Plaintiffs fail to plead sufficient facts either to render their claims
                               7                  against Defendant plausible or to satisfy the heightened pleading
                                                  standards of Rule 9(b). Plaintiffs’ allegations about Defendant’s
                               8                  purportedly actionable behavior state only that Defendant was
                                                  involved in the CRT business . . . Beyond that, Plaintiffs provide
                               9                  only the barest possible pleadings that Defendant participated in
                                                  the conspiracy to some extent, and that Defendant purportedly
                            10                    “never withdrew” from these dealings.
                            11            Order at 4-5 (Sept. 26, 2013), Dkt. No. 1960.

                            12            This reasoning applies with even greater force to Sharp’s claims against TDA. Sharp has
                            13     had the benefit of this Court’s analysis and has expanded the FAC to 303 paragraphs, but still

                            14     fails to “answer the basic questions: who, did what, to whom (or with whom), where and when.”

                            15     Kendall v. Visa U.S.A., Inc., 518 F.3d 1042, 1048 (9th Cir 2008). Sharp, moreover, “must allege
                            16     that each individual defendant joined the conspiracy and played some role in it.” In re TFT-LCD

                            17     (Flat Panel) Antitrust Litig., 586 F. Supp. 2d 1109, 1117 (N.D. Cal. 2008) (emphasis added); see

                            18     also In re Elevator Antitrust Litig., 502 F.3d 47, 50-51 (2d Cir. 2007) (a complaint lacking
                            19     “specification of any particular activities by any particular defendant” is nothing more than a list

                            20     of “conclusory allegations of agreement” that “do not supply facts adequate to show illegality”).

                            21     Sharp fails to advance a single, well-pleaded allegation plausibly supporting TDA’s involvement
                            22     in any unlawful conspiracy.

                            23            Sharp alleges, “[u]pon information and belief”, that TDA, between 2005 and 2007

                            24     “knowingly participated in conspiracy meetings and/or [was] part[y] to the agreements entered at
                            25     them, individually and through [its] parent company Videocon.” FAC ¶199. This statement is

                            26     unsupported by any evidentiary facts. Cf. Gilmore v. Am. Mortg. Network, No. 12-7935, 2012

                            27     1
                                     Federal pleading standards govern claims brought in federal court, including those arising under
                                   state law. In re Graphics Processing Units Antitrust Litig., 527 F. Supp. 2d 1011, 1025 (N.D.
                            28     Cal. 2007).
SQUIRE SANDERS (US) LLP
  275 Battery Street, Suite 2600                                              4
 San Francisco, California 94111
                                   TDA’S NOTICE OF MOTION TO DISMISS THE FIRST AMENDED COMPLAINT, AND MEMORANDUM OF
                                     POINTS AND AUTHORITIES IN SUPPORT – Master File #3:07-5944-SC; MDL #1917; Case #13-cv-01173
                                   Case 4:07-cv-05944-JST Document 2234 Filed 11/22/13 Page 11 of 19




                               1   U.S. Dist. LEXIS 176194, at *19 (C.D. Cal. Dec. 10, 2012) (rejecting plaintiff’s reliance on

                               2   “information and belief” allegations because plaintiff “pleads no facts to support such an

                               3   allegation”). Nowhere in the 303 paragraphs of the 79-page complaint does Sharp allege what, if
                               4   anything, TDA agreed to do, or actually did, at any time in furtherance of, or even consistent

                               5   with, defendants’ alleged conspiracy.2 Sharp’s allegation is nothing more than a bare assertion

                               6   that there was an “agreement at some unidentified point” that fails to “supply facts adequate to
                               7   show illegality.” Twombly, 550 U.S. at 565 n.10. These are precisely the kind of rote allegations

                               8   that the Supreme Court and the Ninth Circuit have rejected as insufficient. Kendall, 518 F.3d at

                               9   1048.
                            10             Sharp cannot avoid dismissal by relying on its bare assertion that “Videocon dominated

                            11     and/or controlled the finances, policies and/or affairs of TDA and directed its pricing of CRT

                            12     Products sold to the North America market.” FAC ¶ 199. See, e.g., Imageline, Inc. v.
                            13     CafePress.com, Inc., No. 10-9794, 2011 U.S. Dist. LEXIS 39828, at *12 (C.D. Cal. Apr. 6, 2011)

                            14     (“To sufficiently plead an agency relationship, a plaintiff must allege facts demonstrating the

                            15     principal’s control over its agent”); see also Doe v. Unocal Corp., 248 F.3d 915, 926 (9th Cir.
                            16     2001) (holding veil-piercing allegations require facts showing absolute control by the parent over

                            17     the subsidiary).

                            18             Alleging a parent-subsidiary relationship is not enough to state a claim against TDA.
                            19     “[T]he mere fact that there exists a parent-subsidiary relationship between two corporations” does

                            20     not “make the one liable for the torts of its affiliate.” United States v. Bestfoods, 524 U.S. 51, 61

                            21     (1998) (quoting 1 W. Fletcher, Cyclopedia of Law of Private Corporations § 33, p. 568 (rev. ed.
                            22     1990)). Formal corporate separation among defendants is not lightly disregarded. E. & J. Gallo

                            23     Winery v. Encana Energy Servs., Inc., No. 03-5412, 2008 U.S. Dist. LEXIS 46927, at *16 (E.D.

                            24     Cal. May 27, 2008) (“The independence of a subsidiary from the parent corporation is to be
                            25
                                   2
                                     Sharp alleges that following TDA’s acquisition of Thomson’s North American CRT assets in
                            26     2005, two former Thomson employees who had “attended conspiracy meetings on behalf of
                                   Thomson . . . transitioned to work for TDA.” Whether those employees attended alleged
                            27     conspiratorial meetings on behalf of Thomson in 2002 and 2003 is irrelevant to whether TDA
                                   joined the alleged conspiracy in 2005. There is no allegation that the two individuals attended
                            28     any meetings with competitors on behalf of TDA after allegedly joining TDA in 2005.
SQUIRE SANDERS (US) LLP
  275 Battery Street, Suite 2600                                              5
 San Francisco, California 94111
                                   TDA’S NOTICE OF MOTION TO DISMISS THE FIRST AMENDED COMPLAINT, AND MEMORANDUM OF
                                     POINTS AND AUTHORITIES IN SUPPORT – Master File #3:07-5944-SC; MDL #1917; Case #13-cv-01173
                                   Case 4:07-cv-05944-JST Document 2234 Filed 11/22/13 Page 12 of 19




                               1   presumed”). Thus, a company cannot be liable for antitrust violations simply because another

                               2   member of the same corporate family is alleged to have committed such violations. See, e.g.,

                               3   RSM Prod. Co. v. Petroleos de Venez, Societa Anonima, 338 F. Supp. 2d 1208, 1216 (D. Colo.
                               4   2004) (dismissing Sherman Act claims against subsidiary corporation because complaint alleged

                               5   only that subsidiary CITGO was “the wholly owned U.S. marketing arm of PDVSA” and did “not

                               6   contain any allegations of fact that would, if true, subject CITGO to liability under the Sherman
                               7   Act or on any other basis”); MCI Telecom. Corp. v. Graphnet, Inc., 881 F. Supp. 126, 130-31

                               8   (D.N.J. 1995) (dismissing antitrust claim against corporate subsidiary because plaintiff did not

                               9   allege that the subsidiary itself, rather than another member of the same corporate family, violated
                            10     the Sherman Act).

                            11            Relying exclusively on a parent-subsidiary relationship constitutes nothing more than a

                            12     factually unsupported legal conclusion that TDA participated in a conspiracy by virtue of its
                            13     corporate status. This is insufficient as a matter of law. See, e.g., In re Cal. Title Ins. Antitrust

                            14     Litig., No. 08-01341, 2009 U.S. Dist. LEXIS 43323, at *29 (N.D. Cal. May 21, 2009) (dismissing

                            15     complaint for failure to plead more than an agency relationship between parent and subsidiary
                            16     corporations); Nordberg v. Trilegiant Corp., 445 F. Supp. 2d 1082, 1102-03 (N.D. Cal. 2006)

                            17     (dismissing complaint with prejudice because plaintiffs’ “conclusory” allegations that past parent

                            18     controlled subsidiary and had a majority representation on subsidiary’s board are “insufficient to
                            19     support the contention that a subsidiary is a mere instrumentality” of the parent); In re Currency

                            20     Conversion Fee Antitrust Litig., 265 F. Supp. 2d 385, 426 (S.D.N.Y. 2003) (dismissing as

                            21     insufficient bare allegations that parent exercised “dominion and control over its subsidiaries”);
                            22     Invamed, Inc. v. Barr Labs., Inc., 22 F. Supp. 2d 210, 219 (S.D.N.Y. 1998) (corporate affiliation

                            23     alone insufficient to sustain Sherman Act claim).

                            24            Sharp’s lone remaining allegation against TDA — that TDA was at alleged conspiratorial
                            25     meetings by virtue of engaging in the business of distributing CRTs to direct purchasers (FAC

                            26     ¶200) — makes no sense whatsoever. The fact that TDA sold CRTs does not ipso facto render it

                            27     a co-conspirator to fix prices of CRTs. Kendall, 518 F.3d at 1049 (“Allegations of facts that
                            28
SQUIRE SANDERS (US) LLP
  275 Battery Street, Suite 2600                                              6
 San Francisco, California 94111
                                   TDA’S NOTICE OF MOTION TO DISMISS THE FIRST AMENDED COMPLAINT, AND MEMORANDUM OF
                                     POINTS AND AUTHORITIES IN SUPPORT – Master File #3:07-5944-SC; MDL #1917; Case #13-cv-01173
                                   Case 4:07-cv-05944-JST Document 2234 Filed 11/22/13 Page 13 of 19




                               1   could just as easily suggest rational, legal business behavior by the defendants as they could

                               2   suggest an illegal conspiracy are insufficient to plead a violation of the antitrust laws”).

                               3          “A claim has facial plausibility when the plaintiff pleads factual content that allows the
                               4   court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

                               5   Iqbal, 556 U.S. at 678. Sharp’s threadbare allegations against TDA fail to meet this basic

                               6   pleading standard. This Court previously observed that Sharp, “[s]o many years after this MDL’s
                               7   inception . . . should be able to provide something more than boilerplate allegations about alleged

                               8   conspirators.” Order at 5 (Sept. 26, 2013), Dkt. No. 1960. Sharp has not met this minimal

                               9   standard as to TDA, and obviously cannot do so. Consequently, the claims against TDA should
                            10     be dismissed with prejudice for failure to state a claim.

                            11            B.      Sharp’s Claims Against TDA Are Untimely and Must Be Dismissed.

                            12            Dismissal under Rule 12(b)(6) is appropriate when the expiration of the statute of
                            13     limitations is apparent on the face of the complaint. Jabon v. Dean Witter & Co., 614 F.2d 677,

                            14     682 (9th Cir. 1980). Sharp’s claims against TDA are subject to three- and four-year limitations

                            15     periods, all of which expired long before Sharp filed its Complaint on March 15, 2013.3
                            16            The statute of limitations begins to run for claims based on an antitrust conspiracy “from

                            17     the last overt act” in furtherance of the conspiracy. Pace Indus., Inc. v. Three Phoenix Co., 813

                            18     F.2d 234, 237 (9th Cir. 1987). Sharp alleges that, between March 1, 1995 and December 2007
                            19     (the “Relevant Period”), “Defendants and their co-conspirators formed an international cartel.”

                            20     FAC ¶2. Sharp confines its conspiracy allegations exclusively to the “Relevant Period”; Sharp

                            21     does not allege the occurrence of any overt acts in furtherance of the alleged conspiracy after
                            22     December 31, 2007.

                            23

                            24
                                   3
                                     Sharp’s federal antitrust claim is subject to a four-year statute of limitations. See 15 U.S.C. §
                            25     15b. Sharp’s claims under the California Cartwright Act, the California Unfair Competition law,
                                   the New York Donnelly Act, and the New Jersey Antitrust Act also are subject to a four-year
                            26     statute of limitations period. See CAL. BUS. & PROF. CODE § 16750.1; CAL. BUS. PROF. CODE §
                                   17208; N.Y. GEN. BUS. LAW § 340(5); N.J. STAT. § 56:9-14. Sharp’s claims under the New York
                            27     Unfair Competition Law and the Tennessee antitrust law are subject to a three-year statute of
                                   limitations period. See N.Y. C.P.L.R. 214(2); Gaidon v. Guardian Life Ins. Co. of Am., 96 N.Y.2d
                            28     201, 208 (2001); TENN. CODE § 28-3-105.
SQUIRE SANDERS (US) LLP
  275 Battery Street, Suite 2600                                              7
 San Francisco, California 94111
                                   TDA’S NOTICE OF MOTION TO DISMISS THE FIRST AMENDED COMPLAINT, AND MEMORANDUM OF
                                     POINTS AND AUTHORITIES IN SUPPORT – Master File #3:07-5944-SC; MDL #1917; Case #13-cv-01173
                                   Case 4:07-cv-05944-JST Document 2234 Filed 11/22/13 Page 14 of 19




                               1          Assuming that the statute of limitations for Sharp’s claims began running on December

                               2   31, 2007—the latest date within the “Relevant Period” when any “overt act” could have

                               3   occurred—Sharp was required to file its claims against TDA no later than December 31, 2010 or
                               4   December 31, 2011 to satisfy the applicable limitations periods. Sharp waited until March 15,

                               5   2013 to file this action. Its claims are all time-barred and must be dismissed as a matter of law.

                               6
                                                  1.      Sharp Fails to Plead a Basis to Toll the Statute of Limitations for Any
                               7                          of Sharp’s Claims Against TDA.

                               8          Sharp has the burden of pleading and proving facts that would toll the statute of

                               9   limitations applicable to its claims. Hinton v. Pac. Enters., 5 F.3d 391, 395 (9th Cir. 1993) (“The
                            10     burden of alleging facts which would give rise to tolling falls upon the plaintiff . . . [and] does not

                            11     arise only after a motion to dismiss”).

                            12            To justify its delay in bringing this action against TDA, Sharp alleges that its expired
                            13     claims have been tolled based on: (1) the pendency of “putative class actions asserted against

                            14     Defendants” (FAC ¶¶230-31, 249), and (2) the DOJ’s “criminal proceedings and investigations

                            15     against several Defendants and co-conspirators” (FAC ¶¶230, 249). 4 Sharp fails to plead either of
                            16     these alleged grounds for tolling, and thus, cannot escape the consequence of its tardy filing

                            17     against TDA.

                            18                    2.      Sharp Cannot Rely on American Pipe to Toll Its Claims Against TDA.
                            19            The filing of a putative class action may toll the statute of limitations for claims by

                            20     putative class members against defendants named in the class action. Am. Pipe & Constr. Co. v.

                            21     Utah, 414 U.S. 538, 554 (1974). “[I]t is facially obvious,” however, that the pendency of a class
                            22     action does not toll the statute of limitations as to claims against a party who is not named as

                            23     a defendant in the putative class action. Boone v. Citigroup, Inc., 416 F.3d 382, 392 (5th Cir.

                            24     2005); see also e.g., Wyser-Pratte Mgt. Co. v. Telxon Corp., 413 F.3d 553, 567-68 (6th Cir. 2005)
                            25     4
                                     Sharp also alleges tolling based on alleged fraudulent concealment by the Defendants. FAC ¶
                                   248. Sharp concedes that it “asserts only that the Defendants effectively concealed the conspiracy
                            26     through November 2007.” Sharp’s Opp. at 11 (Nov. 6, 2013), Dkt. No. 2194. Although the FAC
                                   alleges no facts at all, much less facts pleaded with particularity, to support a claim of fraudulent
                            27     concealment as to TDA, this ground for tolling is inapplicable, because Sharp’s complaint against
                                   TDA was filed outside the limitations periods even if its claims were tolled through November
                            28     2007.
SQUIRE SANDERS (US) LLP
  275 Battery Street, Suite 2600                                              8
 San Francisco, California 94111
                                   TDA’S NOTICE OF MOTION TO DISMISS THE FIRST AMENDED COMPLAINT, AND MEMORANDUM OF
                                     POINTS AND AUTHORITIES IN SUPPORT – Master File #3:07-5944-SC; MDL #1917; Case #13-cv-01173
                                   Case 4:07-cv-05944-JST Document 2234 Filed 11/22/13 Page 15 of 19




                               1   (holding that class action tolling does not apply to a defendant who was not named in the class

                               2   action); Arneil v. Ramsey, 550 F.2d 774, 782 n.10 (2d Cir. 1977) (same), rev’d on other grounds

                               3   by Crown, Cork & Seal Co. v. Parker, 462 U.S. 345 (1983). TDA has never been named as
                               4   a defendant or even been subject to discovery in any of the class action proceedings upon which

                               5   Sharp relies. The FAC does not plead that TDA had any reason to be aware of the CRT litigation,

                               6   or even that TDA was involved in the CRT business during the four years before Sharp filed this
                               7   lawsuit. American Pipe tolling therefore cannot save Sharp’s time-barred claims against TDA.

                               8          Nor can Sharp rely on American Pipe to toll its expired state law claims. First, the direct

                               9   purchaser lawsuits upon which Sharp now relies for tolling only assert claims under federal law;
                            10     they do not include the state law claims Sharp asserts and as to which Sharp now seeks to apply

                            11     tolling.5 American Pipe tolling does not apply to claims that are “different [from] or peripheral

                            12     [to]” those claims asserted in the class action. Crown, Cork & Seal Co. v. Parker, 462 U.S. 345,
                            13     354 (1983) (Powell, J., concurring); see also e.g., Williams v. Boeing Co., 517 F.3d 1120, 1135-

                            14     36 (9th Cir. 2008) (statute of limitations not tolled for claim not included in the original or first

                            15     amended complaint).
                            16            Second, Sharp fails to plead that any of the states whose laws it invokes recognizes cross-

                            17     jurisdictional tolling. See Clemens v. DaimlerChrysler Corp., 534 F.3d 1017, 1025 (9th Cir.

                            18     2008) (“[F]ederal courts have declined to import the doctrine into state law where it did not
                            19     previously exist”). This is not surprising given that courts interpreting California, New York, and

                            20     Tennessee law explicitly have rejected cross-jurisdictional tolling.6 Sharp cannot rely on

                            21     American Pipe to resuscitate its time-barred federal or state claims.
                            22

                            23     5
                                     Sharp does not allege that it is, and cannot purport to be, a member of the Indirect Purchaser
                            24     Plaintiffs’ class, which encompasses only those who purchased CRTs for their own use and not
                                   for resale. The indirect class action provides no basis for tolling Sharp’s claims.
                            25     6
                                     See Clemens, 534 F.3d at 1025 (“the weight of authority and California’s interest in managing
                                   its own judicial system counsel us not to import the doctrine of cross-jurisdictional tolling into
                            26     California law”); Soward v. Deutsche Bank AG, 814 F. Supp. 2d 272, 282 (S.D.N.Y. 2011) (“In
                                   the face of these overwhelming precedents, I cannot say that New York would adopt cross-
                            27     jurisdictional tolling and decline to import the doctrine into New York’s law”); Maestas v.
                                   Sofamor Danek Group, Inc., 33 S.W.3d 805, 808 (Tenn. 2000) (“[W]e decline to adopt the
                            28     doctrine of cross-jurisdictional tolling in Tennessee”).
SQUIRE SANDERS (US) LLP
  275 Battery Street, Suite 2600                                              9
 San Francisco, California 94111
                                   TDA’S NOTICE OF MOTION TO DISMISS THE FIRST AMENDED COMPLAINT, AND MEMORANDUM OF
                                     POINTS AND AUTHORITIES IN SUPPORT – Master File #3:07-5944-SC; MDL #1917; Case #13-cv-01173
                                   Case 4:07-cv-05944-JST Document 2234 Filed 11/22/13 Page 16 of 19




                               1                  3.      Sharp Fails to Plead, and Cannot, Establish Tolling Based on
                                                          Government Proceedings.
                               2
                                          Sharp alleges that the limitations periods applicable to its claims against TDA are tolled
                               3
                                   by virtue of “criminal proceedings and investigations against several Defendants and co-
                               4
                                   conspirators commencing on at least November 2007 through the present.” FAC ¶230.
                               5
                                          As an initial matter, the “investigations” Sharp alleges do not toll the statute of limitations.
                               6
                                   Section 5 of the Clayton Act only tolls private right of action arising under the federal antitrust
                               7
                                   laws “[w]henever any civil or criminal proceeding is instituted by the United States to prevent,
                               8
                                   restrain, or punish violations of any of the antitrust laws.” 15 U.S.C. § 16(i) (emphasis added).
                               9
                                   In other words, statutory tolling under the Clayton Act only applies once the United States files an
                            10
                                   indictment, information or complaint. Dungan v. Morgan Drive-Away, Inc., 570 F.2d 867, 869-
                            11
                                   71 (9th Cir. 1978).
                            12
                                          The only “civil or criminal proceedings” by the United States that Sharp identifies are
                            13
                                   indictments of employees of Samsung, LG and Chunghwa. See FAC ¶¶136-37, 139-40.7
                            14
                                          Sharp’s allegations are insufficient to invoke statutory tolling. To benefit from tolling
                            15
                                   under the Clayton Act, Sharp “must prove, by ‘comparison of the two complaints on their
                            16
                                   face[s],’ a significant overlap of subject matter between the two actions.” Novell, Inc. v.
                            17
                                   Microsoft Corp., 505 F.3d 302, 320 (4th Cir. 2007) (quoting Leh v. Gen. Petroleum Corp., 382
                            18
                                   U.S. 54, 59 (1966)). The conspiratorial acts alleged by the private plaintiff must be “intertwined
                            19
                                   with and fundamentally the same” as those alleged in the government action, i.e., plaintiff alleges
                            20
                                   a conspiracy that includes the objectives, means, time span, and geographic scope of the
                            21
                                   conspiracy alleged by the government. Chipanno v. Champion Int’l Corp., 702 F.2d 827, 832
                            22

                            23
                                   7
                                     Sharp cannot rely on the indictment of Samsung SDI Co. Ltd. to toll the statute of limitations.
                            24     The United States filed the Information against Samsung on March 18, 2011—over three years
                                   after the first putative class actions were filed. See Complaint at ¶¶ 141, 230. Any tolling by
                            25     virtue of the United States’ criminal proceeding against Samsung ended on May 17, 2012, one
                                   year after the “proceeding” was terminated by the filing of the plea agreement and over nine
                            26     months before Sharp filed its complaint. See, e.g., Yoder Bros., Inc. v. Cal.-Fla. Plant Corp., 537
                                   F.2d 1347, 1363 (5th Cir. 1976) (holding that government action terminated on the date of entry
                            27     of consent decree); Marine Firemen’s Union v. Owens-Corning Fiberglass Corp., 503 F.2 246,
                                   249 (9th Cir. 1974) (holding the “pendency” of a government proceeding terminates on “date of
                            28     the entry of judgment or conviction”).
SQUIRE SANDERS (US) LLP
  275 Battery Street, Suite 2600                                             10
 San Francisco, California 94111
                                   TDA’S NOTICE OF MOTION TO DISMISS THE FIRST AMENDED COMPLAINT, AND MEMORANDUM OF
                                     POINTS AND AUTHORITIES IN SUPPORT – Master File #3:07-5944-SC; MDL #1917; Case #13-cv-01173
                                   Case 4:07-cv-05944-JST Document 2234 Filed 11/22/13 Page 17 of 19




                               1   (9th Cir. 1983); Charley’s Tour & Transp., Inc. v. Interisland Resorts, Ltd., 618 F. Supp. 84, 86

                               2   (D. Hawaii 1985); Maricopa County v. Am. Pipe & Constr. Co., 303, F. Supp. 77 (D. Ariz. 1969).

                               3          Notably absent from Sharp’s complaint is any allegation of “significant overlap” between
                               4   the claim it now seeks to allege against TDA and the Government’s proceedings against

                               5   employees of Taiwanese and Korean manufacturers. The indictments themselves describe only

                               6   meetings that occurred in Asia and agreements allegedly reached between Taiwanese and Korean
                               7   companies with respect to color display tubes (“CDTs”) used in “color computer monitors.” In

                               8   contrast, the FAC does not describe meetings that TDA attended in Asia or anywhere else and

                               9   does not allege that TDA made any agreements with the Taiwanese and Korean manufacturers
                            10     with respect to color display tubes.

                            11            In any case, statutory tolling under the Clayton Act would not preserve Sharp’s claims

                            12     under California law, New Jersey law, Tennessee law, or the New York Unfair Competition
                            13     Law.8 15 U.S.C. § 16(i) only applies to actions “arising under . . . the antitrust laws,” of which

                            14     Section 1 of the Clayton Act provides the exclusive list. Nashville Milk Co. v. Carnation Co.,

                            15     355 U.S. 373, 376 (1958). None of the aforementioned state laws are included in the list of
                            16     “antitrust laws” defined by the Clayton Act. See 15 U.S.C. § 12. Sharp’s claims are not tolled by

                            17     United States government criminal proceedings. The claims are time-barred and should be

                            18     dismissed with prejudice.
                            19
                                          C.      Illinois Brick Bars Sharp from Asserting Claims for Damages for Purchases
                            20                    of CRT Products Under Federal and New Jersey Law.

                            21            Sharp must plead facts that establish that it is entitled to the damages that it seeks. Fed. R.
                            22     Civ. P. 8(a). Sharp asserts indirect-purchaser claims against TDA, seeking damages based on

                            23     alleged purchases of CRT Products.9 FAC ¶¶11, 228, 303. As an indirect purchaser, Sharp does

                            24     8
                                     The New York Donnelly Act tolls the running of the statute of limitations during the pendency
                            25     of, and one year thereafter, any proceeding instituted by the federal government “to prevent
                                   restrain or punish violations of the federal antitrust laws” if “based in whole or in part on any
                            26     matter complained of in the federal proceeding.” N.Y. GEN. BUS. LAW § 342-C. Sharp failed to
                                   plead tolling under the Donnelly Act for the same reason that it failed to plead tolling of its
                            27     federal antitrust claim under the Clayton Act.
                                   9
                                    Sharp defines “CRT Products” to include “CRTs and/or the products containing CRTs.”
                            28     Complaint ¶ 3.
SQUIRE SANDERS (US) LLP
  275 Battery Street, Suite 2600                                             11
 San Francisco, California 94111
                                   TDA’S NOTICE OF MOTION TO DISMISS THE FIRST AMENDED COMPLAINT, AND MEMORANDUM OF
                                     POINTS AND AUTHORITIES IN SUPPORT – Master File #3:07-5944-SC; MDL #1917; Case #13-cv-01173
                                   Case 4:07-cv-05944-JST Document 2234 Filed 11/22/13 Page 18 of 19




                               1   not have federal antitrust standing to seek damages for its purchases of CRT Products. Illinois

                               2   Brick Co. v. Illinois, 431 U.S. 720, 735 (1977). To overcome this preclusion, Sharp must plead

                               3   facts to establish that it has standing under an exception to Illinois Brick. See Kendall v. Visa
                               4   U.S.A., Inc., 518 F.3d 1042, 1049-50 (9th Cir. 2008).

                               5          There are only three recognized exceptions to Illinois Brick. Prior Orders by this Court

                               6   preclude Sharp from claiming standing under two of those exceptions; namely, the “cost-plus”
                               7   and “co-conspirator” exceptions. Order at 35 (Aug. 21, 2013), Dkt. No. 1856; see also Stipulated

                               8   Order at 4 (Oct. 1, 2013), Dkt. No. 1971. Sharp fails to plead facts to establish standing under the

                               9   “ownership or control” exception to Illinois Brick.
                            10            The “ownership or control” exception is available where the initial seller of the alleged

                            11     price-fixed product owns or controls the direct purchaser. In re ATM Fee Antitrust Litig., 686

                            12     F.3d 741, 756 (9th Cir. 2012). Sharp must plead which alleged Defendants or co-conspirators
                            13     were initial “sellers” of CRTs and name which Defendants, co-conspirators, OEMS, or other

                            14     suppliers were the “direct purchasers” that ultimately sold finished CRT Products to Sharp. Sharp

                            15     fails to satisfy its pleading burden. Sharp likewise fails to establish that the entity that sold CRT
                            16     Products to Sharp was owned or controlled by Sharp. Sharp’s allegations in paragraph 30 of the

                            17     FAC concerning purchases of CRT Products from Sharp Roxy Electronics Corporation and

                            18     Nanjing Sharp Electronics Co., Ltd. do not satisfy this pleading burden. The two entities are
                            19     affiliate companies that merely share with Sharp the same “ultimate parent company.” This

                            20     allegation falls well short of pleading ownership or control by Sharp over those entities.

                            21            New Jersey’s antitrust statute must “be construed in harmony with judicial interpretations
                            22     of comparable Federal antitrust statutes . . . .” N.J. Stat. § 56:9-18. Sharp thus lacks standing

                            23     under New Jersey law to seek damages for purchases of CRT Products. See Sickles v. Cabot

                            24     Corp., 877 A.2d 267, 275 (N.J. App. Div. 2005) (“it is clear New Jersey courts are directed to
                            25     follow the Illinois Brick holding”).

                            26            It is apparent from the pleading that Sharp lacks federal antitrust standing—and standing

                            27     under New Jersey law—with respect to its purchases of CRT Products. TDA’s motion to dismiss
                            28     should be granted.
SQUIRE SANDERS (US) LLP
  275 Battery Street, Suite 2600                                             12
 San Francisco, California 94111
                                   TDA’S NOTICE OF MOTION TO DISMISS THE FIRST AMENDED COMPLAINT, AND MEMORANDUM OF
                                     POINTS AND AUTHORITIES IN SUPPORT – Master File #3:07-5944-SC; MDL #1917; Case #13-cv-01173
                                   Case 4:07-cv-05944-JST Document 2234 Filed 11/22/13 Page 19 of 19




                               1   III.   CONCLUSION

                               2          TDA is a small company that did not exist until 2005. The FAC pleads no facts at all that

                               3   could support an antitrust claim against TDA. Sharp had more than five years before naming
                               4   TDA as a defendant to marshal facts to support its claims, but it apparently found nothing. Now,

                               5   all applicable statutes of limitation have run as to Sharp’s conclusory claims asserted against

                               6   TDA. The FAC must be dismissed with prejudice as to TDA.
                               7

                               8   Dated: November 22, 2013                        Respectfully submitted,
                               9                                                   Squire Sanders (US) LLP
                            10

                            11                                                     By: /s/ Nathan Lane III
                                                                                      Nathan Lane III
                            12
                                                                                   Attorneys for Defendant
                            13                                                     TECHNOLOGIES DISPLAYS AMERICAS, LLC

                            14

                            15
                            16

                            17

                            18
                            19

                            20

                            21
                            22

                            23

                            24
                            25

                            26

                            27
                            28
SQUIRE SANDERS (US) LLP
  275 Battery Street, Suite 2600                                             13
 San Francisco, California 94111
                                   TDA’S NOTICE OF MOTION TO DISMISS THE FIRST AMENDED COMPLAINT, AND MEMORANDUM OF
                                     POINTS AND AUTHORITIES IN SUPPORT – Master File #3:07-5944-SC; MDL #1917; Case #13-cv-01173
